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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

 CHRISTOPHER MORGAN, individually                      )
 and on behalf of a class of persons and               )
 entities similarly situated,                          )
                                                       )
                Plaintiff,                             )
                                                       )
 v.                                                    )    Civil Action No. 3:17-cv-00085-NKM
                                                       )
 U.S. XPRESS, INC.                                     )
                                                       )
                Defendant.                             )

                             JOINT STIPULATION OF DISMISSAL

        Plaintiff Christopher Morgan and Defendant U.S. Xpress, Inc., (collectively, the “Parties”)

 by counsel, jointly file this stipulation of dismissal pursuant to Rule 41(a)(1) of the Federal Rules

 of Civil Procedure.

        The Parties have reached an agreement of settlement with respect to all claims asserted in

 the Complaint. Accordingly, pursuant to that agreement, the Parties jointly stipulate that this

 action is hereby DISMISSED WITH PREJUDICE in its entirety and stricken from the Court’s

 docket. The Parties agree that Court retains jurisdiction to enforce the terms of the settlement.

        Respectfully submitted this 23rd day of July, 2019.

        SO STIPULATED.
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 WE ASK FOR THIS:


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